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              In the United States Court of Federal Claims
                                                No. 05-143 C
                                          (Filed: February 3, 2006)

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ERNEST LONG, et al.,                            *
                                                *
                                                *                     Waiver of FLSA rights; Waivers
                        Plaintiffs,             *                     must be explicit, clear and
                                                *                     unmistakable; Under appropriate
      v.                                        *                     circumstances, private sector
                                                *                     employment cases may be used as
THE UNITED STATES,                              *                     persuasive authority in the federal
                                                *                     sector employment context
                        Defendant.              *
                                                *
***********************************************

Robert A. Jones, Chamberlain, Kaufman & Jones, Albany, NY, counsel of record for Plaintiffs, with whom
was Alan S. Kaufman, Of Counsel.

David B. Stinson, Trial Attorney, United States Department of Justice, Civil Division, Commercial Litigation
Branch, Washington, D.C., counsel of record for Defendant, with whom were Peter D. Keisler, Assistant
Attorney General, David M. Cohen, Director, and Mark A. Melnick, Assistant Director.

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                                         OPINION AND ORDER
                                        _______________________

DAMICH, Chief Judge.

I.     Introduction

        This matter is before the court on Defendant’s Motion for Summary Judgment pursuant to Rule 56(b)
of the United States Court of Federal Claims (“RCFC”). Defendant argues that Plaintiffs’ claims for overtime
compensation under the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 207(a), are precluded because
Plaintiffs’ union, on their behalf, entered into a collective bargaining agreement with Plaintiffs’ employer,
which covers how Plaintiffs are to be compensated for time spent caring for their assigned canines. In
opposition, Plaintiffs argue that FLSA rights may not be waived through a collective bargaining agreement.
Alternatively, Plaintiffs assert that even if FLSA rights are waiveable, the collective bargaining agreement at


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issue does not waive their FLSA rights because it does not represent an explicit, clear and unmistakable
waiver as is required. For the reasons discussed herein, Defendant’s motion is DENIED.

II.      Background

        Plaintiffs1 are employed with the National Capital Region, United States Park Police (“U.S. Park
Police”) in a dual role as officers and canine handlers within the Department of the Interior, National Park
Service. See Compl. ¶ 3; see also Def.’s Supplemental Br. at 1; Pls.’ Supplemental Br. at 1. Plaintiffs filed
suit under the FLSA to recover unpaid overtime compensation. Compl. ¶ 1. Specifically, Plaintiffs allege
that Defendant violated Section 207 of the FLSA, which requires employers to pay employees for work in
excess of 40 hours per given work week at a rate “not less than one and one-half times the regular rate at
which [the employee] is employed.” Id. ¶ 22; 29 U.S.C. § 207(a)(1), (b). Plaintiffs assert that they are owed
overtime compensation because they were required to provide for the care of their assigned canines at their
personal residences when off duty and the time spent was in addition to their normal 40-hour work week.
Pls.’ Opp’n at 10. Plaintiffs seek damages under Section 216(b), which provides for the recovery of unpaid
overtime, liquidated damages, interest, and attorneys fees. 29 U.S.C. § 216(b).

        Plaintiffs’ union is the Fraternal Order of Police (“FOP”). The FOP and Plaintiffs’ employer, the U.S.
Park Police, entered into two agreements that are relevant to this matter. On February 23, 1999, the FOP and
the U.S. Park Police entered into an agreement entitled Agreement 99A-01 (“CBA”), which applies solely to
those U.S. Park Police officers who also serve as canine handlers. Def.’s Mot. at Ex. 013. The scope of the
CBA is the care of the assigned canines and the general compensation for providing such care. Id. Several
months after the parties executed the CBA, on July 28, 1999, the FOP and the U.S. Park Police entered into
another agreement pertaining to Plaintiffs, but which also applies to all U.S. Park Police officers generally.
Id. at Ex. 015-069. This agreement is entitled Labor Management Agreement (“General CBA”) and appears
to cover all employment related matters. Id.




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               There are six Plaintiffs involved in this case. Defendant’s motion, however, does not
      apply to Plaintiff John Guarino because he is a supervisor and, thus, is not covered by the
      collective bargaining agreement. In its motion, Defendant initially argued that Mr. Guarino’s
      claim should nonetheless be dismissed because he is currently a plaintiff in another pending case
      with identical claims. In their opposition, Plaintiffs submitted an affidavit of the attorney (Ms.
      Molly Ann Elkin) working on the other case Mr. Guarino is involved in, and she stated that the
      parties are engaged in settlement negotiations and that in the event settlement is reached, the
      claim pursued by Mr. Guarino here will be excepted out. Pls.’ Opp’n at Ex. 18. As a result, the
      parties agree that this case can be stayed as it pertains to him pending the resolution of the
      settlement agreement in the other case.

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        Section 4 of the CBA is particularly relevant to Plaintiffs’ FLSA claims. Id. at Ex. 013. It provides:

                 Canine handlers are required to provide for the care and feeding of their
                 assigned canines at their residences. Officers will be compensated at the rate
                 of 1/4 hour compensatory time per workday for the canine for the care and
                 feeding of the canine. Canine handlers will be compensated at the rate of 1/2
                 hour compensatory time per non-workday for the canine, for the care and
                 feeding of the canine, unless the canine is kenneled. Compensatory time will
                 be submitted cumulatively at the conclusion of each pay period.

Id. (emphases added; underscore in original).

Although the CBA uses the terms “Canine handlers” and “Officers” interchangeably, Section 4, in its entirety,
applies to Plaintiffs, as the parties agree that Plaintiffs serve in this dual role. See Compl. ¶ 3; see also Def.’s
Supplemental Br. at 1; Pls.’ Supplemental Br. at 1. The CBA provides Plaintiffs with 15 minutes of
compensatory time for each workday and 30 minutes of compensatory time for each non-workday for the time
spent caring for the canines. Def.’s Mot. at Ex. 013. Defendant asserts that the distinction in the amount of
compensatory time provided for workdays and non-workdays exists because Plaintiffs are given plenty of time
during their workday shifts to care for their canines and, thus, 15 minutes is enough to cover any additional
time spent when off-duty on a workday. In total for both workdays and non-workdays, Plaintiffs receive 2.5
hours of compensatory time each week. See id.

         In their declarations, Plaintiffs allege that the majority of time they devote toward caring2 for their
canines is spent on their off-duty time and that the time spent “far exceeds” the “2.5 hours” allotted to them
per week. See Pls.’ Opp’n at Ex. 20, 23, 28, 31, 34 ¶ 7. Moreover, Plaintiffs allege that the CBA compensates
them for the 2.5 hours at their regular hourly rate rather than at an overtime rate even though the 2.5 hours
is in excess of their normal 40-hour work week. See id. at Ex. 20, 23, 28, 31, 34 ¶ 8. Plaintiffs posit that their
employer has never instructed them to limit the amount of off-duty time spent on canine-related duties. See
id. at Ex. 20, 23, 28, 31, 34 ¶ 9. Accordingly, Plaintiffs seek compensation for the time worked in excess of
the 2.5 hours per week at the overtime rate of time and a half and seek an additional half-time compensation
for the overtime hours that were compensated at the regular hourly rate.

        In its motion for summary judgment, Defendant argues that Plaintiffs’ FLSA claims are precluded by
the CBA. Def.’s Mot. at 4. Plaintiffs oppose the motion and argue that FLSA rights may not be waived
through a collective bargaining agreement. Pls.’ Opp’n at 3. Alternatively, Plaintiffs argue that even if waiver
is possible, it must be explicit, clear and unmistakable. Id. at 14. Plaintiffs assert that the CBA does not meet
this level of clarity. Id.




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             See Pls.’ Opp’n at Ex. 19, 22, 25, 27, 30, 33 ¶ 2 (stating that as canine handlers, their
    duties include: boarding the dogs at their personal residences, cleaning up after the dogs, feeding
    the dogs, exercising the dogs, training the dogs, bathing the dogs, and grooming the dogs).

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III.    Legal Standard

         Summary judgment is appropriate when there are no genuine issues of material fact, and the moving
party is entitled to judgment as a matter of law. RCFC 56(c); Anderson v. Liberty Lobby, Inc., 477 U.S. 242,
247 (1986); Jay v. Sec’y, DHHS, 998 F.2d 979, 982 (Fed. Cir. 1993). The moving party bears the initial
burden of demonstrating the absence of any genuine issue of material fact. Jay, 998 F.2d at 982. Once the
moving party makes the requisite showing, however, the burden then shifts to the non-movant to establish the
existence of a genuine issue that can only be resolved at trial. See Novartis Corp. v. Ben Venue Lab., 271 F.3d
1043, 1046 (Fed. Cir. 2001). The court must resolve any doubts regarding factual issues in favor of the
non-moving party and draw all reasonable inferences in its favor. See Chiuminatta Concrete Concepts, Inc.
v. Cardinal Indus., Inc., 145 F.3d 1303, 1307 (Fed. Cir. 1998); Gasser Chair Co. v. Infanti Chair Mfg. Corp.,
60 F.3d 770, 773 (Fed. Cir. 1995). However, summary judgment must be entered against a party who fails
to sufficiently establish an essential element to that party’s case where that party will bear the burden of proof
at trial. Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). “In such a situation, there can be no genuine
issue as to any material fact, since a complete failure of proof concerning an essential element of the
nonmoving party’s case necessarily renders all other facts immaterial.” Id. at 322-23 (internal quotations
omitted). In order for a factual dispute to be genuine, the evidence must be such that a reasonable jury or trier
of fact could return a verdict for the non-moving party. Anderson, 477 U.S. at 248 (1986).

IV.     Discussion

        A.      The Arguments of the Parties

        Defendant argues that the CBA precludes Plaintiffs from pursuing their FLSA claims because it
reflects an agreement between Plaintiffs’ exclusive representative and Plaintiffs’ employer on the issue of
compensation for caring for the canines. Def.’s Mot. at 5. In support, Defendant asserts that although
Plaintiffs have filed suit alleging FLSA violations, they are really attempting to collaterally attack the express
terms of a contractual agreement. Id.

       In opposition, Plaintiffs argue that FLSA rights may not be waived through a collective bargaining
agreement. Pls.’ Opp’n at 12. Alternatively, Plaintiffs argue that even if FLSA rights are waiveable, the CBA
does not waive their rights because it does not represent an explicit, clear and unmistakable waiver as is
required. Id. at 14. Plaintiffs assert that the CBA does not even remotely discuss the subject of waiver. Id.
According to Plaintiff, the “agreement provides certain compensation for canine handlers and nothing more.”
Id.

        In its reply, Defendant addresses the two issues raised by Plaintiffs. In response to Plaintiffs’ argument
that FLSA rights are not waiveable, Defendant argues that the “present case does not involve waiver, but
rather resolution by agreement to reimburse employees for off-duty work.” Def.’s Reply at 8. As such,
Defendant asserts that the cases cited by Plaintiff dealing with waiver are inapplicable. Id. Defendant
concludes by arguing that the CBA should be enforced as written. Id. In response to Plaintiffs’ alternative
argument that waivers must be explicit, clear and unmistakable, Defendant argues that this standard was


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established by the Supreme Court in private sector employment cases, which are inapplicable in the federal
employment context. Id. at 5. In support, Defendant asserts that the Federal Circuit’s ruling in O’Connor v.
United States, demonstrates that private sector cases are inapplicable in the federal employment context
because federal employees are represented by unions and are subject to collective bargaining agreements
pursuant to the Civil Service Reform Act (“CSRA”). Id. (citing 308 F.3d 1233, 1242-43 (Fed. Cir. 2002).
Defendant alternatively argues that to the extent the standard does apply, it “does not rely upon some general
language to effectuate a waiver, but rather an agreement that expressly sets forth the mechanism by which
employees will be compensated for their off-duty work.” Id. at 8.

       B.      Waiver Is the Issue Before the Court

        Despite Defendant’s assertion to the contrary, the precise issue before the court is waiver. If the court
finds that the CBA precludes or bars Plaintiffs from pursuing their FLSA rights, by implication, the ruling
would amount to a finding that Plaintiffs relinquished or waived their statutory rights by entering into the
CBA. However, in light of Plaintiffs’ argument that the CBA does not even represent a waiver of their rights,
the court will first determine whether the waiver standard is applicable here, and if so, whether the CBA
represents an explicit waiver of Plaintiffs’ statutory rights.

       C.      Even If A Union May Waive its Members’ FLSA Rights, Any Such Waiver Must Be
               Explicit, Clear and Unmistakable

        The waiver standard asserted by Plaintiffs is derived from the Supreme Court’s ruling in Wright v.
Universal Maritime Service Corp., 525 U.S. 70 (1998). Wright involved a private sector employment
dispute in which the Court held that although the statutory right to a judicial forum for discrimination
claims under the Americans with Disabilities Act may be waiveable, it is unnecessary for the court to
make this determination because the collective bargaining agreement “does not contain a clear and
unmistakable waiver of the covered employees’ rights . . . .” Id. at 82 (emphasis added). Of particular
relevance to this case is the Court’s statement wherein it indicated that protection from ambiguous or
unclear waivers is even more necessary when a “substantive right” is involved, as here. See id. at 80
(stating although the right to a judicial forum “is not a substantive right . . . [it] is of sufficient importance
to be protected against less-than-explicit union waiver in a CBA”) (citing Metro. Edison Co. v. NLRB,
460 U.S. 693, 709-10 (1983) (holding that although a union may waive a member’s substantive statutory
right under the National Labor Relations Act to be free from having a private employer discourage
membership in any labor organization, such waiver did not occur because such waiver “must be
established clearly and unmistakably”) (emphasis added). Underlying both of these Supreme Court cases
is the sentiment that courts should not infer a waiver of statutory rights unless the waiver is “explicitly
stated.” See Wright, 525 U.S. at 80 (citing Metro. Edison, 460 U.S. at 708) (stating “[w]e will not infer
from a general contractual provision that the parties intended to waive a statutorily protected right unless
the undertaking is explicitly stated. More succinctly, the waiver must be clear and unmistakable.”)
(emphases added). Although both of these cases involved private sector employment disputes, the Court
did not expressly confine its holdings to the private sector.

       Despite the lack of any indication in Wright or Metropolitan Edison that the rulings should be
confined to the private sector, Defendant argues that the waiver standard is inapplicable here because the


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court is dealing with a federal employment dispute, unlike in those cases. Def.’s Reply at 5. In support,
Defendant argues that the Federal Circuit’s ruling in O’Connor v. United States, demonstrates that private
sector cases are distinct from federal sector cases because federal employees are represented by unions
and are subject to collective bargaining agreements pursuant to the CSRA. Id. (citing 308 F.3d 1233,
1242-43 (Fed. Cir. 2002). An examination of O’Connor, however, reveals that Defendant’s
interpretation is simply too broad.

        O’Connor does not stand for the proposition that private sector cases, as a matter of law, are
inapplicable to the federal sector. In reaching its determination, the Federal Circuit did not consider the
legal issue that is currently before this court–whether waivers must meet a certain level of clarity to be
enforceable. Rather the Federal Circuit’s ruling concerned solely whether FLSA rights may be
relinquished under the doctrine of accord and satisfaction where the parties enter into a settlement
agreement through a CSRA-governed administrative grievance process. O’Connor, 308 F.3d at 1244.
The court held that “a settlement agreement negotiated pursuant to the CSRA and a CBA” and made in
the administrative grievance context constituted a valid accord and satisfaction. Id. at 1244, 1241. In
determining that such rights could be relinquished, the court stated that the private sector cases finding
otherwise were not binding on the court because those cases did not involve settlements reached in a
grievance process governed by the CSRA, unlike the settlement before the court. Id. at 1242-44 (stating
that “private sector case law is not dispositive of federal labor disputes”). According to the Federal
Circuit, a settlement agreement that resulted through a process governed by the CSRA has certain
guarantees of reliability and trustworthiness, which make such agreements distinct from those in the
private employment sector. See id. at 1243-44. When placed in context, O’Connor merely recognized
that private sector cases are not binding precedent and, thus, should not be utilized where the
circumstances involved are dissimilar to those in the federal sector. The court did not, however, bar the
use of private employment cases as persuasive authority where the circumstances in both the private and
federal sectors are sufficiently analogous.

        In addition, and as recognized by Judge Hewitt in Bull v. United States, a case similar to the one
before the court, “[t]he dispute in O’Connor did not involve the terms of the collective bargaining
agreement itself [as here] but rather the terms of the settlement agreement executed during litigation by
the parties subject to the collective bargaining agreement.” 65 Fed. Cl. 407, 411 (Fed. Cir. 2005) (citing
O’Connor, 308 F.3d at 1237-39) (brackets added). Thus, not only are the legal issues significantly
different in this case, but the facts in O’Connor are entirely distinguishable from those before the court.

        Of particular relevance is the fact that there are significant similarities among the private sector
plaintiffs involved in Wright and Metropolitan and the federal sector Plaintiffs involved here. Just like
the federal employees here, those private employees were also represented by unions and were subject to
collective bargaining agreements. Although private employees are not governed by the CSRA, the
applicability of the CSRA in the federal employment context is a non-factor where it does not provide the
federal employee with any additional protection than a private employee would have under applicable
law. Here, Defendant asserts that Plaintiffs waived their FLSA rights to overtime compensation. Unlike
the circumstances in O’Connor where the court found that the CSRA offered certain protections when a
claim was pursued through the grievance process rather than in court, the CSRA does not offer any
additional protection under these circumstances. For example, the CSRA does not expressly require that


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such waivers meet a certain level of clarity. Thus, under these precise circumstances, the CSRA does not
provide federal employees with any advantages over their private counterparts. Accordingly, because
private and federal employees are on an equal footing on this issue, there is simply no logical justification
for manufacturing a distinction between federal and private employees, which would require unions
representing private employees to be clear about such waivers, but which would allow unions in the
federal employment context to disregard such a requirement of clarity.

        When the policy considerations underlying the Supreme Court’s rulings are considered, it is
evident that the Court based its reasoning on the premise that statutory rights are simply too important to
be deemed waived without an explicit statement to that effect. As the Court reached this conclusion
despite the presence of union representation and collective bargaining agreements, it follows that the
Court would extend such a requirement of clarity to a federal employment setting with analogous
circumstances. Therefore, in order for the court to find that Plaintiffs waived their FLSA rights, the
waiver must be “explicitly stated.” Wright, 525 U.S. at 80 (citing Metro. Edison, 460 U.S. at 708).3

       D.        The Purported Waiver Is Not Explicitly Stated

        The court must now turn to the language of the CBA to determine whether the waiver is
“explicitly stated” or “[m]ore succinctly,” whether it is “clear and unmistakable.” Wright, 525 U.S. at 80
(citing Metro. Edison, 460 U.S. at 708). The CBA provides:

          Section 4: Canine handlers are required to provide for the care and feeding of their
          assigned canines at their residences. Officers will be compensated at the rate of 1/4
          hour compensatory time per workday for the canine for the care and feeding of the
          canine. Canine handlers will be compensated at the rate of 1/2 hour compensatory
          time per non-workday for the canine, for the care and feeding of the canine, unless
          the canine is kenneled. Compensatory time will be submitted cumulatively at the
          conclusion of each pay period.

Def.’s Mot. at Ex. 013 (emphases added; underscore in original).

Although this provision does “expressly set[] forth the mechanism” by which Plaintiffs will be
compensated for caring for the canines, as Defendant asserts, it does not explicitly waive Plaintiffs’
FLSA rights to overtime compensation. Def.’s Reply at 8.

        First, the provision does not even contain the word, “overtime.” Second, the provision does not
state that Plaintiffs will not be paid overtime for the time spent caring for their canines that exceeds their


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           Other courts within the U.S. Court of Federal Claims have also extended the explicit,
   clear and unmistakable waiver requirement to federal employment disputes. See Jaynes v.
   United States, 68 Fed. Cl. 747, 754-55 (2005) (adopting the “clear and unmistakable” waiver
   standard); Bull v. United States, 65 Fed. at 413 (same); Mudge v. United States, 59 Fed. Cl. 527,
   534-35 (2004) (same); Curtis v. United States, 59 Fed. Cl. 543, 549 (2004) (same).


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normal 40-hour work week. Third, it does not limit the amount of time Plaintiffs may spend caring for
their assigned canines nor does it discuss how Plaintiffs are to be paid for time spent in excess of the
prescribed time. Fourth, the provision does not provide that the indicated compensation includes
overtime compensation. Fifth, and in addition to the lack of any “clear and unmistakable” intent to trump
Plaintiffs’ rights to overtime, the provision does not even discuss the statutory rights purportedly being
waived. See Wright, 525 U.S. at 80 (finding the lack of any “explicit incorporation of [the] statutory . . .
requirements” important in reaching the determination that the waiver was not “clear and unmistakable”).
As it does not appear that the subject of waiver is even addressed in this provision, it cannot represent an
explicit waiver of Plaintiffs’ substantive statutory rights to FLSA compensation.

        Moreover, and in addition to the fact that the CBA does not meet the Supreme Court’s waiver
standard, the General CBA expressly provides that overtime will be paid in accordance with law. See
Def.’s Mot. at Ex. 041. Specifically, Section 10.5 of the General CBA is entitled “Overtime,” and
provides: “[a]n officer required to perform any work or duty before or after his/her scheduled work hours
will receive compensation for all such work or duty in accordance with law.” Id. (emphasis added). As
Plaintiffs are “officers,” as used here, and are “required” to perform the off-duty care of their assigned
canines, the General CBA explicitly requires that they are to be paid overtime in accordance with the
FLSA. Def.’s Supplemental Br. at 1-2 (stating that the term “officer” applies to Plaintiffs and noting that
the term when used in conjunction with the term canine handler “refer to officers assigned to specially
trained canines for the performance of their duties”); see Pls.’ Supplemental Br. at 1-2. As such, even if
the CBA did satisfy the waiver standard, which it does not–this subsequent agreement that the parties
executed five months after they entered into the CBA evinces an “explicitly stated” contrary intent as the
term “[o]vertime” is actually used, weighing against finding a “clear and unmistakable” waiver. See
Barrentine v. Ark., 450 U.S. 728, 740-41 (1981) (holding in the private sector context, that “FLSA rights
cannot be abridged by contract or otherwise waived . . .” and stating that in any event, “congressionally
granted FLSA rights take precedence over conflicting provisions in a collectively bargained
compensation arrangement”) (emphasis added).

        Accordingly, the court finds that the CBA’s terms do not satisfy the waiver standard. In light of
this finding, the court need not consider the issue of whether a union may waive its members’ FLSA
rights as a matter of law.

V.     Conclusion

       In view of the foregoing, the court hereby ORDERS the following:

               1.      Defendant’s May 20, 2005, Motion for Summary Judgment is DENIED.

               2.      The parties shall file a joint status report on or before March 3, 2006, wherein they
                       inform the court on how they wish to proceed. In addition, the parties shall inform
                       the court whether they believe the case should be stayed as it pertains to Plaintiff
                       John Guarino. In so doing, the parties shall inform the court of the status of the
                       pending settlement negotiations in Abbatantuono v. United States, Fed. Cl. No. 02-
                       479C.


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                                    s/Edward J. Damich
                                    EDWARD J. DAMICH
                                    Chief Judge




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